                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

DEVERY DAVIS and CLIFTON      §                     CIVIL ACTION NO. 4:20-cv-00724
HUMPHREY, INDIVIDUALLY AND    §
ON BEHALF OF ALL OTHERS       §
SIMILARLY SITUATED,           §
                              §
     Plaintiffs               §
                              §
v.                            §
                              §
FIVE OAKS ACHIEVEMENT         §                     COLLECTIVE ACTION
CENTER, LLC d/b/a FIVE OAKS   §
ACHIEVEMENT CENTERS;          §
WHISPERING HILLS ACHIEVEMENT §
CENTER, LLC d/b/a WHISPERING  §
HILLS ACHIEVEMENT CENTER; and §
NORTH FORK EDUCATIONAL        §
CENTER, LLC d/b/a NORTH FORK  §
EDUCATIONAL CENTER            §
                              §
     Defendants.              §

                               PLAINTIFFS’ JURY DEMAND

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

        Pursuant to Federal Rules of Civil Procedure 38, Plaintiffs hereby demand a trial by jury
in the above-captioned action of all issues triable by jury.

                                            Respectfully submitted,

                                            WASHINGTON & ASSOCIATES, PLLC

                                            By:     /s/ Mickey L. Washington
                                                    MICKEY L. WASHINGTON
                                                    Federal Bar No. 35786
                                                    mw@mickeywashington.com
                                                    KIMBERLY R. BENNETT
                                                    Federal Bar No. 32123
                                                    kbennetttx@earthlink.net
                                                    2019 Wichita Street
                                                    Houston, Texas 77004
                                                    Telephone#713.225.1838
                                                    ATTORNEYS FOR PLAINTIFFS AND
                                                    OTHERS SIMILARLY SITUATED
                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document has
been forwarded to all counsel via the electronic delivery system of the United States District
Court for the Southern District of Texas, Houston Division, as follows:

COWLES & THOMPSON, P.C.

Brian T. Farrington
Texas Bar No. 00790667
Sam Israeloff
Texas Bar No. 10435380
901 Main Street, Suite 3900
Dallas, Texas 75202
Telephone#: 214.672.2000
Email Address: bfarrington@cowlesthompson.com
Email Address: sisraeloff@cowlesthompson.com

Attorneys for Defendants


       So certified on this 4th day of August, 2020.


                                                       /s/ Mickey L. Washington
                                                       MICKEY L. WASHINGTON
